     Case 4:21-cv-05075-MKD      ECF No. 201    filed 12/06/23   PageID.6824 Page 1 of 2




 1                                                                            FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON

 2
                                                                     Dec 06, 2023
 3                                                                       SEAN F. MCAVOY, CLERK




 4                         UNITED STATES DISTRICT COURT

 5                      EASTERN DISTRICT OF WASHINGTON

 6   JESSE REYES; DANIEL REYNOSO;                   No. 4:21-CV-05075-MKD
     LEAGUE OF UNITED LATIN
 7   AMERICAN CITIZENS; LATINO                      ORDER ON AGREED
     COMMUNITY FUND OF                              STIPULATION OF DISMISSAL OF
 8   WASHINGTON;                                    YAKIMA COUNTY DEFENDANTS

 9                       Plaintiff,                 ECF No. 200

10   vs.

11   CHARLES ROSS, in his official
     capacity as Yakima County Auditor and
12   Canvassing Review Board Member;
     JOSEPH BRUSIC, in his official
13   capacity as Yakima County Canvassing
     Review Board Member; RON
14   ANDERSON; in his official capacity as
     Yakima County Canvassing Review
15   Board Member;

16                       Defendant.

17         Before the Court is the parties’ Agreed Stipulation of Dismissal of Yakima

18   County Defendants. ECF No. 200. LCivR 41(a)(1)(B) and Fed. R. Civ. P.

19   41(a)(1)(A)(ii) provide that a plaintiff may dismiss an action without a court order

20   by filing a Stipulated Motion to Dismiss signed by all parties who have appeared.

     Plaintiff seeks dismissal with prejudice, without an award of fees or costs. The

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 1   stipulation is signed by counsel for the remaining parties. The stipulation resolves

 2   the remaining claims in this case.

 3         Accordingly, IT IS HEREBY ORDERED:

 4         1.     Pursuant to LCivR 41(a)(1)(B) and Fed. R. Civ. P. 41(a)(1)(A)(ii), all

 5   remaining claims against Defendants Charles Ross, Joseph Brusic, and Ron

 6   Anderson, are DISMISSED with prejudice, without an award of fees or costs.

 7         2.     All pending deadlines and hearings are STRICKEN.

 8         3.     All pending motions, including ECF Nos. 97, 99, 101, 104, 120, 169,

 9   171, 174, are DENIED as moot.

10         IT IS SO ORDERED. The District Court Executive is directed to file this

11   Order, provide copies to counsel, and CLOSE the file.

12         DATED December 6, 2023.

13                                 s/Mary K. Dimke
                                  MARY K. DIMKE
14                         UNITED STATES DISTRICT JUDGE

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     ORDER - 2
